       Case 6:08-cr-10141-JTM           Document 129       Filed 07/15/09      Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                     )
                                              )
                         Plaintiff,           )
                                              )
v.                                            )       No. 08-10141-06
                                              )
CHRISTOPHER HOLMES,                           )
                                              )
                         Defendant.           )
                                              )

                                      Memorandum and Order

       The defendant Christopher Holmes was sentenced by this court on April 8, 2009, to a term

of imprisonment of 48 months. He was allowed to remain on bond for the purpose of self-

surrendering to the institution designated by the Bureau of Prisons.

       The matter came before the court on July 14, 2009 for a hearing on allegations that the

defendant violated his conditions of release. At the hearing, the defendant admitted that he

violated those conditions by traveling outside the district of Kansas without prior approval of the

Probation office. Although the defendant requested that he be allowed to continue on release

until his surrender date, the court concluded that the order of release should be revoked. See 18

U.S.C. § 3148(a). The court finds the defendant is unlikely to abide by any combination of

conditions of release.

       The Order of Release previously entered is REVOKED, and the defendant Christopher

Holmes is hereby remanded to the custody of the U.S. Marshals pending his transportation to the

institution designated by the Bureau of Prisons. IT IS SO ORDERED this         15th Day of July,

2009, at Wichita, Ks.

                                              s/ Wesley E. Brown
                                              Wesley E. Brown
                                              U.S. Senior District Judge
